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AO 458 (Rev. 01/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                          for the
                                                Eastern District
                                             __________  DistrictofofVirginia
                                                                      __________


                 United States of America                       )
                             Plaintiff                          )
                                v.                              )      Case No. 1:23-mj-67
              CONOR BRIAN FITZPATRICK                           )
                            Defendant                           )

                                               APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am authorized to practice in this court, and I appear in this case as counsel for:
          the United States of America.
                                                                                                                    .

                                                                                                 /s/
Date: June 5, 2023
                                                                                           Attorney’s signature

                                                                       Lauren Pomerantz Halper, VA 86228
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